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                                                                                         UNITED STATES DISTRICT COURT
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                                                                                      NORTHERN DISTRICT OF CALIFORNIA
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                                                          AU OPTRONICS CORPORATION AMERICA, )                     CASE NO.: 4:18-cv-04638-HSG
                                                     17   a California corporation,         )
                                                                                            )                     AU OPTRONICS CORPORATION
                                                     18           Plaintiff,                )                     AMERICA’S REPLY TO STATEMENT OF
                                                                                            )                     RECENT DECISION
                                                     19
                                                                  vs.                       )
                                                                                                                  Date: November 29, 2018
                                                     20                                     )                     Time: 2 p.m.
                                                          VISTA PEAK VENTURES, LLC,         )                     Place: Courtroom 2
                                                     21                                     )
                                                                  Defendant.                )
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                                                                            AUO USA’S REPLY TO NOTICE OF SUPPLEMENTAL AUTHORITY
                                                                   AU Optronics Corporation America v. Vista Peak Ventures, LLC, Case No. 4:18-cv-04638-HSG
                                                      1          AU Optronics Corporation America (“AUO USA”) filed its Statement of Recent Decision on

                                                      2   December 13, 2018. (Dkt. #40). The following day, Defendant filed a response (the “Response”)

                                                      3   and attaching the Federal Circuit decision, Maxchief Investments Ltd. v. Wok & Pan, Ind., Inc., No.

                                                      4   2018-1121 (Fed. Cir. Nov. 29, 2018). (Dkt. #41).

                                                      5          AUO USA would welcome the opportunity to explain to the Court why the issues decided by

                                                      6   the Federal Circuit in Maxchief, attached as Exhibit A to the Response, are simply not relevant to

                                                      7   those before this Courts in a brief responsive filing, if such a filing would assist the Court.

                                                      8

                                                      9   Dated: December 17, 2018                        Respectfully submitted,

                                                     10                                                   LOCKE LORD LLP
                                                     11

                                                     12                                                   By:    /s/ Bryan G. Harrison
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                                                                             AUO USA’S REPLY TO NOTICE OF SUPPLEMENTAL AUTHORITY
                                                                    AU Optronics Corporation America v. Vista Peak Ventures, LLC, Case No. 4:18-cv-04638-HSG
